        Case 1:22-mj-00222-ZMF Document 15 Filed 11/12/22 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA             )
          v.                         ) Case No. 1:22-MJ-222
                                     )
JESSE WATSON,                        )
      Defendant                      )


                                   PRAECIPE


TO THE CLERK:
      PLEASE ENTER the appearance of the undersigned court-appointed
attorney as counsel for the defendant in this matter effective November 8, 2022.


                                     Respectfully submitted,


                                            /signed by/
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                                     Counsel for the Defendant
        Case 1:22-mj-00222-ZMF Document 15 Filed 11/12/22 Page 2 of 2




                               Certificate of Service


I hereby certify that on the 10th day of November, 2022, I electronically filed the
foregoing pleading with the Clerk of Court using the CM/ECT system, which will
send a notification of such filing (NEF) to the following CM/ECF user:


                          AUSA Frederick W. Yette
                          Frederick.Yette@usdoj.gov.


                                            /signed by/
                                      ______________________________
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